       Case 4:14-cv-00050 Document 1 Filed on 01/09/14 in TXSD Page 1 of 6




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JOSE HERRERA,                                     § No.
                                                  §
  Plaintiff,                                      §
                                                  §
  v.                                              §
                                                  §
GC SERVICES, LP,                                  §
                                                  §
  Defendant.                                      §
                                                  §

                                 PLAINTIFF’S COMPLAINT

       JOSE HERRERA (Plaintiff), through his attorneys, KROHN & MOSS, LTD., alleges

       the following against GC SERVICES, LP (Defendant):

                                       INTRODUCTION

  1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

       seq. (FDCPA).

  2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                JURISDICTION AND VENUE

  3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

  4. Defendant conducts business in the state of Texas, and therefore, personal jurisdiction is

       established.

  5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).


                                   PLAINTIFF’S COMPLAINT                                            1
  Case 4:14-cv-00050 Document 1 Filed on 01/09/14 in TXSD Page 2 of 6




                                        PARTIES

6. Plaintiff is a natural person residing in Henderson, Clark County, Nevada.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

   sought to collect a consumer debt from Plaintiff.

9. Defendant is a national debt collection company with its main office located in Houston,

   Texas and it conducts business in Texas.

                             FACTUAL ALLEGATIONS

10. In or around October of 2013, Defendant placed collection calls to Plaintiff seeking and

   demanding payment for an alleged consumer debt.


11. Plaintiff's alleged debt arises from transactions for personal, family, and household

   purposes.


12. Defendant called Plaintiff's telephone number at 702-269-93XX.


13. In or around October of 2013, Defendant called Plaintiff and left a voicemail message on

   Plaintiff's answering machine. See transcribed voicemail message attached hereto as

   Exhibit A.


14. In the voicemail message, Defendant failed to meaningfully disclose the company's name

   or the nature of the call or state that the call was from a debt collector. See transcribed

   voicemail message attached hereto as Exhibit A.




                               PLAINTIFF’S COMPLAINT                                             2
  Case 4:14-cv-00050 Document 1 Filed on 01/09/14 in TXSD Page 3 of 6




15. In the voicemail message, Defendant directed Plaintiff to call back telephone number

   800-846-6406, extension 5055, which is a number that belongs to Defendant. See

   transcribed voicemail message attached hereto as Exhibit A.


16. Defendant is using false, deceptive and misleading means in connection with attempting

   to collect a debt by not identifying the purpose of its phone calls or that they are an

   attempt to collect a debt.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

17. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural
          consequence of which is to harass, oppress, or abuse Plaintiff;

       b. Defendant violated §1692d(6) of the FDCPA when Defendant placed telephone calls
          without meaningful disclosure of the caller’s identity; and

       c. Defendant violated §1692e of the FDCPA by using false, deceptive, and misleading
          representations in connection with the collection of any debt.

       d. Defendant violated §1692e(11) of the FDCPA by failing to disclose in subsequent
          communications that the communication was from a debt collector.

   WHEREFORE, Plaintiff, JOSE HERRERA, respectfully requests judgment be entered

   against Defendant, GC SERVICES, LP, for the following:

       a. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act,

           15 U.S.C. 1692k,

       b. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

           Act, 15 U.S.C. 1692k

       c. Any other relief that this Honorable Court deems appropriate.



                                PLAINTIFF’S COMPLAINT                                        3
Case 4:14-cv-00050 Document 1 Filed on 01/09/14 in TXSD Page 4 of 6




                                     RESPECTFULLY SUBMITTED,

Dated:_____________                  By:_________________________
                                     Ryan S. Lee
                                     Krohn & Moss, Ltd
                                     10474 Santa Monica Blvd.
                                     Suite 401
                                     Los Angeles, CA 90025
                                     (323) 988-2400 x241
                                     (866) 861-1390 (fax)
                                     Email: rlee@consumerlawcenter.com




                      PLAINTIFF’S COMPLAINT                              4
        Case 4:14-cv-00050 Document 1 Filed on 01/09/14 in TXSD Page 5 of 6




                VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF TEXAS

        Plaintiff, JOSE HERRERA, states the following:
   1.      I am the Plaintiff in this civil proceeding.
   2.      I have read the above-entitled civil Complaint prepared by my attorneys and I believe
           that all of the facts contained in it are true, to the best of my knowledge, information and
           belief formed after reasonable inquiry.
   3.      I believe that this civil Complaint is well grounded in fact and warranted by existing law
           or by a good faith argument for the extension, modification or reversal of existing law.
   4.      I believe that this civil Complaint is not interposed for any improper purpose, such as to
           harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
           needless increase in the cost of litigation to any Defendant(s), named in the Complaint.
   5.      I have filed this Complaint in good faith and solely for the purposes set forth in it.
   6.      Each and every exhibit I have provided to my attorneys which has been attached to this
           Complaint is a true and correct copy of the original.
   7.      Except for clearly indicated redactions made by my attorneys where appropriate, I have
           not altered, changed, modified or fabricated these exhibits, except that some of the
           attached exhibits may contain some of my own handwritten notations.


        Pursuant to 28 U.S.C. § 1746(2), I, JOSE HERRERA, hereby declare (or certify,
verify or state) under penalty of perjury that the foregoing is true and correct.


________________________                                  _____________________________________
           Date                                                   JOSE HERRERA




                                    PLAINTIFF’S COMPLAINT                                             5
      Case 4:14-cv-00050 Document 1 Filed on 01/09/14 in TXSD Page 6 of 6




                                        EXHIBIT A

Jose Herrera, my name is “Elliott Sears.” Please call me back at 1-800-846-6406 extension 5055

between the hours of 8 am and 5 pm Arizona time. Again, my phone number is 1-800-846-6404

extension 5055.




                                 PLAINTIFF’S COMPLAINT                                       6
